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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NORTH DAKOTA


            In Re:                                              Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                   Chapter 11

                                  Debtor.


               APPLICATION FOR AN ORDER APPOINTING KURTZMAN CARSON
            CONSULTANTS, LLC AS CLAIMS, NOTICING AND BALLOT AGENT FOR THE
            DEBTOR-IN-POSSESSION PURSUANT TO 28 U.S.C. § 156(C), NUNC PRO TUNC
                                 TO THE PETITION DATE


                     Vanity Shop of Grand Forks, Inc. (the “Debtor”) in the above-captioned chapter 11

            case hereby files this application (this “Application”), pursuant to section 105(a) of title 11

            of the United States Code (the “Bankruptcy Code”), section 156(c) of title 28 of the United

            State Code, and Rule 2002 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

            Rules”), seeking entry of an order, in substantially the form attached hereto as Exhibit A

            (the “Retention Order”): (i) authorizing and approving the retention and appointment of

            Kurtzman Carson Consultants, LLC (“KCC”) as claims, noticing and ballot agent for the

            Debtor in lieu of the Clerk of the United States Bankruptcy Court for the District of North

            Dakota (the “Clerk”) effective as of the Petition Date (as defined herein); and (ii) providing

            any additional relief required in order to effectuate the foregoing.       In support of this

            Application, the Debtor relies on the Declaration of Jill Motschenbacher in Support of

            Chapter 11 Petition and First Day Motions (the “First Day Declaration”) concurrently filed

            herewith and the declaration of Robert Jordan (the “Jordan Declaration”), attached hereto




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            as Exhibit B and incorporated by reference herein. In further support of this Application, the

            Debtor respectfully represents as follows:

                                           JURISDICTION AND VENUE

                   1.      The Court has jurisdiction over this Chapter 11 case and this Application

            pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C.

            § 157(b) and may be determined by this Court. Venue of this Chapter 11 case and this

            Application in this district is proper under 28 U.S.C. §§ 1408 and 1409.

                   2.      The statutory bases for the relief requested herein are 28 U.S.C. § 156(c), and

            Bankruptcy Rule 2002.

                                                    BACKGROUND

                   3.      On the date hereof (the “Petition Date”), the Debtor commenced a voluntary

            case under chapter 11 of the Bankruptcy Code. The Debtor is authorized to continue to

            operate its business and manage its property as a debtor in possession pursuant to sections

            1107(a) and 1108 of the Bankruptcy Code. To date, no trustee, examiner or statutory

            committee has been appointed in this Chapter 11 case.           Additional factual background

            relating to the Debtor’s business, capital structure and the commencement of this Chapter 11

            case is set forth in detail in the First Day Declaration.

                   4.      Although the Debtor has not yet filed its schedules of assets and liabilities,

            Debtor anticipates that there will be in excess of two thousand individuals and entities to be

            noticed. In view of the number of anticipated claimants and the complexity of the Debtor’s

            business, the Debtor submits that the appointment of a claims, noticing and balloting agent is

            both necessary and in the best interests of both the Debtor’s estate and its creditors.




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                                                RELIEF REQUESTED

                   5.      This Application is made pursuant to 28 U.S.C. § 156(c) and Bankruptcy Rule

            2002, for an order appointing KCC to act as the claims, noticing and ballot agent in order to

            assume full responsibility for the distribution of notices and the maintenance, processing and

            docketing of proofs of claim filed in this Chapter 11 case, nunc pro tunc to the Petition Date.

                   6.      By appointing KCC as the claims, noticing and balloting agent in this Chapter

            11 case, the distribution of notices and the processing of claims will be expedited, and the

            Clerk’s Office will be relieved of the administrative burden of processing what is anticipated

            to be an overwhelming number of claims.

                   7.      The terms of retention are set forth in the KCC Agreement for Services (the

            “Engagement Agreement”) annexed hereto as Exhibit C. The Debtor is seeking approval

            of the Engagement Agreement subject to the Court’s Retention Order.

                                             KCC’S QUALIFICATIONS

                   8.      Although the Debtor has not yet filed its schedules of assets and liabilities, it

            knows there will be thousands of individuals and entities to be noticed. In view of the

            number of anticipated claimants and the complexity of the Debtor’s business, the Debtor

            submits that the appointment of a claims, noticing and ballot agent is both necessary and in

            the best interests of both the Debtor’s estate and its creditors.

                   9.      KCC     is   a   bankruptcy    administrator    that   specializes   in   providing

            comprehensive Chapter 11 administrative services including noticing, claims processing,

            balloting and other related services critical to the effective administration of Chapter 11

            cases. KCC is comprised of leading industry professionals with significant experience in




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            both the legal and administrative aspects of large, complex Chapter 11 cases. KCC has

            developed efficient and cost-effective methods to properly handle the voluminous mailings

            associated with the noticing, claims processing, and balloting portions of Chapter 11 cases to

            ensure the orderly and fair treatment of creditors, equity security holders and all parties in

            interest. Further, KCC will work with the Clerk's Office to ensure that such methodology

            conforms to all of the Court's procedures, the Local Bankruptcy Rules of the United States

            Bankruptcy Court for the District of North Dakota (the “Local Bankruptcy Rules”) and the

            provisions of any orders entered by this Court.

                   10.    KCC has substantial experience in matters of this size and complexity and has

            acted as the official claims, noticing and ballot agent in many large bankruptcy cases in the

            Eighth Circuit and other districts nationwide. See, e.g., In re Peabody Energy Corporation,

            et al., No. 16-42529 (Bankr. E.D. Mo. Apr. 13, 2016); In re Falcon Prods., Inc., No. 05-

            41108 (Bankr. E.D. Mo. March 10, 2005) (Docket No. 255); see also In re Alpha Natural

            Res., Inc., No. 15-33896 (Bankr. E.D. Va. Aug. 5, 2015) (Docket No. 93); In re Walter

            Energy, Inc., No. 15-02741 (Bankr. N.D. Ala. July 15, 2015) (Docket No. 55); Azure

            Midstream Partners, LP, et al., Case No. 17-30461 (Bankr. S.D. Tex. Jan. 30, 2017); Forbes

            Energy Services, Ltd., et al., Case No. 17-20023 (Bankr. S.D. Tex. Jan. 22, 2017); Erickson

            Incorporated, et al., No. 16-34393 (Bankr. N.D. Tex. Nov. 11, 2016); AstroTurf, LLC, No.

            16-41504 (Bankr. N.D. Ga. June 28, 2016) In re AMF Bowling Worldwide, Inc.,

            No. 12-36495 (Bankr. E.D. Va. Nov. 14, 2012) (Docket No. 61); In re Old HB (f/k/a Hostess

            Brands, Inc.), No. 12-22052 (Bankr. S.D.N.Y. Jan. 27, 2012 (Docket No. 201); In re

            Eastman Kodak Co., No. 12-10202 (Bankr. S.D.N.Y. Jan. 19, 2012) (Docket No. 47); In re




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            Movie Gallery, Inc., No. 10-30696 (Bankr. E.D. Va. Feb. 3, 2010) (Docket No. 73); In re

            Circuit City Stores, Inc., No. 08-35653 (Bankr. E.D. Va. Nov. 12, 2008) (Docket No. 108).

                                           SERVICES TO BE RENDERED

                   11.     The services of KCC are appropriate and necessary to enable to Debtor to

            execute its duties as a debtor in possession faithfully. The terms of KCC’s retention are set

            forth in the Engagement Agreement; provided, however, that, by this Application, KCC is

            seeking approval of the Engagement Agreement as set forth in this Application and subject to

            the proposed Retention Order. As it relates to this Application, KCC will perform the

            following tasks, among others, in its role as claims, noticing and ballot agent, as well as all

            quality control relating thereto:

                           a.     Prepare and serve required notices and documents in this Chapter 11
                                  Case in accordance with the Bankruptcy Code and the Bankruptcy
                                  Rules in the form and manner directed by the Debtor and/or the Court
                                  including: (i) notice of the commencement of this Chapter 11 Case and
                                  the initial meeting of creditors under section 341(a) of the Bankruptcy
                                  Code; (ii) notice of any claims bar date; (iii) notices of transfers of
                                  claims; (iv) notices of objections to claims and objections to transfers
                                  of claims; (v) notices of any hearings on a disclosure statement and
                                  confirmation of the Debtor’s plan or plans of reorganization, including
                                  under Bankruptcy Rule 3017(d); (vi) notice of the effective date of any
                                  plan; (vii) notice of hearing on motions filed by the Office of the
                                  United State Trustee for the District of North Dakota (the “U.S.
                                  Trustee”); (viii) any motion to convert, dismiss, appoint a trustee, or
                                  appoint an examiner filed by the U.S. Trustee’s office; and (ix) all other
                                  notices, orders, pleadings, publications, and other documents as the
                                  Debtor or Court may deem necessary or appropriate for an orderly
                                  administration of this Chapter 11 case;

                           b.     Maintain an official copy of the Debtor’s schedules of assets and
                                  liabilities and statement of financial affairs (collectively, the
                                  “Schedules”), listing the Debtor’s known creditors and the amounts
                                  owed thereto;

                           c.     Maintain (i) a list of all potential creditors, equity holders, and other
                                  parties-in-interest; and (ii) a “core” mailing list consisting of all parties


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                            described in Bankruptcy Rule 2002 and those parties that have filed a
                            notice of appearance pursuant to Bankruptcy Rule 9010; update said
                            lists and make said lists available upon request by a party-in-interest or
                            the Clerk;

                     d.     Update addresses on the claims registers and creditor matrix to reflect
                            address updates requested by creditors, provided by the USPS or
                            otherwise;

                     e.     Furnish a notice to all potential creditors of the last date for the filing of
                            proofs of claim and a form for the filing of a proof of claim, after such
                            notice and form are approved by the Court, and notify potential
                            creditors of the existence, amount and classification of their respective
                            claims as set forth in the Schedules, which may be effected by inclusion
                            of such information (or the lack thereof, in cases where the Schedules
                            indicate no debt due to the subject party) on a customized proof of
                            claim form provided to potential creditors;

                     f.     Maintain a post office box or address for the purpose of receiving
                            claims and returned mail, and process all mail received;

                     g.     For all notices, motions, orders, or other pleadings or documents
                            served, prepare and file or cause to be filed with the Clerk an affidavit
                            or certificate of service within seven (7) business days of service which
                            includes: (i) either a copy of the notice served or docket number(s) and
                            title(s) of the pleading(s) served; (ii) a list of persons to whom it was
                            mailed (in alphabetical order) with their addresses; (iii) the manner of
                            service; and (iv) the date served;

                     h.     Process all proofs of claim received, including those received by the
                            Clerk, check said processing for accuracy, and maintain the original
                            proofs of claim in a secure area;

                     i.     Maintain copies of all proofs of claim and proofs of interest filed (in
                            hard copy and electronic form);

                     j.     Maintain the official claims register for the Debtor (the “Claims
                            Register”) on behalf of the Clerk; upon the Clerk’s request, provide the
                            Clerk with a certified, duplicate unofficial Claims Register; and specify
                            in the Claims Register the following information for each claim
                            docketed: (i) the claim number assigned; (ii) the date received; (iii) the
                            name and address of the claimant and agent, if applicable, who filed the
                            claim; (iv) the amount asserted; (v) the asserted classification(s) of the
                            claim (e.g., secured, unsecured, priority, etc.); and (vi) any disposition
                            of the claim;



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                     k.     Implement necessary security measures to ensure the completeness and
                            integrity of the Claims Register and the safekeeping of the original
                            claims;

                     l.     Record all transfers of claims and provide any notices of such transfers
                            as required by Bankruptcy Rule 3001(e);

                     m.     Relocate, by messenger or overnight delivery, all of the court-filed
                            proofs of claim to the offices of KCC, not less than weekly;

                     n.     Upon completion of the docketing process for all claims received to
                            date for each case, turn over to the Clerk copies of the Claims Register
                            for the Clerk’s review (upon the Clerk’s request);

                     o.     Monitor the Court’s docket for all notices of appearance, address
                            changes, and claims-related pleadings and orders filed and make
                            necessary notations on and/or changes to the Claims Register;

                     p.     Assist in the dissemination of information to the public and respond to
                            requests for administrative information regarding the case as directed
                            by the Debtor or the Court, including through the use of a case website
                            and/or call center;

                     q.     If this Chapter 11 case is converted to a case under chapter 7, contact
                            the Clerk within three (3) days of the notice to KCC of entry of the
                            order converting this case;

                     r.     Thirty (30) days prior to the close of this Chapter 11 case, to the extent
                            practicable, request that the Debtor submit to the Court a proposed
                            order dismissing KCC and terminating the services of such agent upon
                            completion of its duties and responsibilities and upon the closing of this
                            Chapter 11 Case;

                     s.     Within seven (7) days of notice to KCC of entry of an order closing this
                            Chapter 11 case, provide to the Court the final version of the Claims
                            Register as of the date immediately before the close of this Chapter 11
                            case; and

                     t.     At this close of this Chapter 11 case, box and transport all original
                            documents in proper format, as provided by the Clerk’s Office, to
                            (i) the Federal Archives Record Administration, located at Central
                            Plains Region, 200 Space Center Drive, Lee’s Summit, MO 64064, or
                            (ii) any other location requested by the Clerk.




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                   12.    The Claims Register shall be open to the public for examination without

            charge during regular business hours and on a case-specific website maintained by KCC.

                   13.    KCC shall not employ any past or present employee of the Debtor for work

            that involves the Chapter 11 case.

                   14.    KCC will follow the notice, claims, solicitation and balloting procedures that

            conform to the guidelines promulgated by the Clerk, the Judicial Conference of the United

            States and as may be entered by the Court’s order.

                                                    COMPENSATION

                   15.    The fees to be charged by KCC in connection with this Chapter 11 case are set

            forth in the Engagement Agreement. KCC’s rates for its services are competitive and

            comparable to the rates charged by their competitors for similar services.

                   16.    The Debtor respectfully requests that the undisputed fees and expenses

            incurred by KCC in the performance of the above services be treated as administrative

            expenses of the Debtor’s chapter 11 estate pursuant to 28 U.S.C. § 156(c) and

            and 503(b)(1)(A) and be paid in the ordinary course of business and without further

            application to or order of the Court.

                   17.    KCC agrees to maintain records of all services showing dates, categories of

            services, fees charged, and expenses incurred, and to serve monthly invoices on the Debtor,

            the U.S. Trustee, counsel for the Debtor, counsel for Wells Fargo, N.A., counsel for any

            official committee, if any, monitoring the expenses of the Debtor, and any party-in-interest

            who specifically requests service of the monthly invoices. If any dispute arises relating to

            the Engagement Agreement or monthly invoices, the parties shall meet and confer in an




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            attempt to resolve the dispute; if resolution is not achieved, the parties may seek resolution of

            the matter from the Court.

                   18.    Prior to the Petition Date, the Debtor provided KCC a retainer in the amount

            of $30,000.00 in connection with prepetition services and has paid prepetition fees and

            expenses in the amount of $7,000 out of said retainer funds.           KCC seeks to hold the

            remaining retainer under the Engagement Agreement during this Chapter 11 case as security

            for the payment of fees and expenses under the Engagement Agreement.

                                              DISINTERESTEDNESS

                   19.    In connection with its retention as claims, noticing and ballot agent, KCC

            represents in the Jordan Declaration, among other things, that:

                          a.      KCC will not consider itself employed by the United States
                                  government and shall not seek any compensation from the United
                                  States government in its capacity as the claims, noticing and ballot
                                  agent in this Chapter 11 case;

                          b.      By accepting employment in this Chapter 11 case, KCC waives any
                                  right to receive compensation from the United States government in its
                                  capacity as the claims, noticing and ballot agent in this Chapter 11 case;

                          c.      In its capacity as the claims, noticing and ballot agent in this Chapter
                                  11 case, KCC will not be an agent of the United States and will not act
                                  on behalf of the United States;

                          d.      KCC will not employ any past or present employees of the Debtor in
                                  connection with its work as the claims, noticing and ballot agent in this
                                  Chapter 11 case; and

                          e.      KCC is a “disinterested person” as that term is defined in section
                                  101(14) of the Bankruptcy Code with respect to the matters upon which
                                  it is to be engaged.

                   20.    To the extent that there is any inconsistency between this Application, the

            Retention Order, and the Engagement Agreement, the Retention Order shall govern.




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                                                BASIS FOR RELIEF

                   21.    This Application is made pursuant to 11 U.S.C. § 105(a), 28 U.S.C. § 156(c),

            and Bankruptcy Rule 2002 for an order appointing KCC as the claims, noticing and ballot

            agent for the Debtor in this Chapter 11 case so that KCC may assume full responsibility for

            the distribution of notices and the maintenance, processing, and docketing of proofs of claim

            filed in this Chapter 11 case, nunc pro tunc to the Petition Date.

                   22.    Section 156(c) of title 28 of the United States Code, in relevant part, provides:

                   Any court may utilize facilities or services, either on or off the court's
                   premises, which pertain to the provision of notices, dockets, calendars, and
                   other administrative information to parties in cases filed under the provisions
                   of title 11, United States Code, where the costs of such facilities or services are
                   paid for out of the assets of the estate and are not charged to the United States.
                   The utilization of such facilities or services shall be subject to such conditions
                   and limitations as the pertinent circuit council may prescribe.

                   23.    As previously mentioned, Debtor knows that there will be in excess of two

            thousand individuals and entities to be noticed in this Chapter 11 case. In view of the number

            of claimants and the complexity of the Debtor’s business, the Debtor submits that the

            appointment of KCC as the claims, noticing and balloting agent is both necessary and in the

            best interests of both the Debtor’s estate and its creditors because the Debtor and the Clerk

            will be relieved of the burdens associated with claims and noticing services. Accordingly,

            the Debtor will be able to devote its full attention and resources to the administration of this

            Chapter 11 case.

                                                INDEMNIFICATION

                   24.    The Debtor shall indemnify KCC under the terms of the Engagement

            Agreement subject to the following modifications:




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                         a.     KCC shall not be entitled to indemnification, contribution or
                                reimbursement pursuant to the Engagement Agreement for services
                                other than the services provided under the Engagement Agreement,
                                unless such services and the indemnification, contribution or
                                reimbursement therefore are approved by the Court.

                         b.     Notwithstanding anything to the contrary in the Engagement
                                Agreement, the Debtor shall have no obligation to indemnify KCC, or
                                provide contribution or reimbursement to KCC, for any claim or
                                expense that is either: (i) judicially determined (the determination
                                having become final) to have arisen from KCC’s gross negligence,
                                willful misconduct, or fraud; (ii) for a contractual dispute in which the
                                Debtor alleges the breach of KCC’s contractual obligations if the Court
                                determines that indemnification, contribution or reimbursement would
                                not be permissible pursuant to In re United Artists Theatre Co., et al.,
                                315 F.3d 217 (3d Cir. 2003), or (iii) settled prior to a judicial
                                determination under (i) or (ii), but determined by this Court, after
                                notice and a hearing, to be a claim or expense for which KCC should
                                not receive indemnity, contribution or reimbursement under the terms
                                of the Engagement Agreement as modified by the Retention Order.

                         c.     If, before the earlier of (i) the entry of an order confirming a chapter 11
                                plan in these cases (that order having become a final order no longer
                                subject to appeal), or (ii) the entry of an order closing this chapter 11
                                case, KCC believes that it is entitled to the payment of any amounts by
                                the Debtor on account of the Debtor’s indemnification, contribution
                                and/or reimbursement obligations under the Engagement Agreement
                                (as modified by the Retention Order), including without limitation the
                                advancement of defense costs, KCC must file an application therefore
                                in this Court, and the Debtor may not pay any such amounts to KCC
                                before the entry of an order by this Court approving the payment. This
                                paragraph is intended only to specify the period of time under which
                                the Court shall have jurisdiction over any request for fees and expenses
                                by KCC for indemnification, contribution or reimbursement, and not a
                                provision limiting the duration of the Debtor’s obligation to indemnify
                                KCC. All parties in interest shall retain the right to object to any
                                demand by KCC for indemnification, contribution or reimbursement.

                         RELIEF AS OF THE PETITION DATE IS APPROPRIATE

                  25.     Pursuant to the Debtor’s request, KCC has acted as the claims, noticing and

            ballot agent since the Petition Date with assurances that the Debtor would seek approval of




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            its employment and retention, effective as of the Petition Date, so that KCC may be

            compensated for its services prior to entry of an order approving KCC’s retention. The

            Debtor believes that no party in interest will be prejudiced by granting KCC’s employment

            as of the Petition Date, because KCC has provided and continues to provide valuable

            services to the Debtor’s estate in the interim period. Courts have approved similar relief in

            other chapter 11 cases in the Eighth Circuit and other districts. See, e.g., In re Noranda

            Aluminum, Inc., No. 16-10083 (Bankr. E.D. Mo. Feb. 12, 2016) (Docket No. 116); In re Arch

            Coal, Inc., No. 16-40120 (Bankr. E.D. Mo. Jan. 15, 2016) (Docket No. 102); In re Bakers

            Footwear Grp., Inc., No. 12-49658 (Bankr. E.D. Mo. Oct. 9, 2012) (Docket No. 74); In re

            Falcon Prods., Inc., No. 05-41108 (Bankr. E.D. Mo. Mar. 10, 2012) (Docket No. 255)

            (granting order to retain and employ KCC as claims and noticing agent); see also In re Alpha

            Natural Res., Inc., No. 15-33896 (Bankr. E.D. Va. Aug. 5, 2015) (Docket No. 93) (granting

            order to retain and employee KCC as claims and noticing agent); In re Walter Energy, Inc.,

            No. 15-02741 (Bankr. N.D. Ala. July 15, 2015) (Docket No. 55) (same); In re Patriot Coal

            Corp., No. 15-32450 (Bankr. E.D. Va. May 14, 2015) (Docket No. 83); In re James River

            Coal Co., No. 14-31848 (Bankr. E.D. Va. Apr. 10, 2014) (Docket No. 76); In re Patriot Coal

            Corp., No. 12-12900 (Bankr. S.D.N.Y. July 11, 2012) (Docket No. 45). 1

                                     REQUEST FOR EXPEDITED RELIEF

                   26.    The Debtor is requesting expedited relief on this Application. The Debtor has

            scheduled and served a number of First Day Motions designed to facilitate an orderly


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                     Unreported orders cited herein are not attached to this Application. Copies of these
            orders will be made available to the Court or other parties upon request made to the Debtor’s
            counsel.


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                                               VOGEL LAW FIRM


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                                            EXHIBIT A

                                    (Proposed Retention Order)




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                                  UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NORTH DAKOTA


            In Re:                                             Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                  Chapter 11

                                 Debtor.


              ORDER AUTHORIZING RETENTION AND APPOINTMENT OF KURTZMAN
             CARSON CONSULTANTS, LLC AS CLAIMS, NOTICING AND BALLOT AGENT
            FOR THE DEBTOR-IN-POSSESSION PURSUANT TO 28 U.S.C. 156(C), NUNC PRO
                               TUNC TO THE PETITION DATE


                     Upon consideration of the Application for an Order Appointing Kurtzman Carson

            Consultants, LLC as Claims, Noticing and Ballot Agent for the Debtor-In-Possession

            Pursuant to 28 U.S.C. § 156(c), Nunc Pro Tunc to the Petition Date (the “Application”) 1 of

            the Debtor for an order authorizing the retention and appointment of KCC as claims, noticing

            and ballot agent under 28 U.S.C. § 156(c), and Bankruptcy Rule 2002, pursuant to the terms

            set forth in the Application; and upon the declaration of Robert Jordan submitted in support

            of the Application; and upon consideration of the First Day Declaration; and the Court being

            satisfied, based on the representations made in the Application and the Jordan Declaration,

            that KCC and its professionals are “disinterested” as such term is defined in section 101(14)

            of the Bankruptcy Code, neither hold nor represent any interest adverse to the Debtor and its

            estate; and the Court having jurisdiction to consider the Application and the relief requested

            therein pursuant to 28 U.S.C. §§ 1334 and 157; and consideration of the Application and the


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                      Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to such terms in the Application or First Day Declaration, as applicable.



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            requested relief being a core proceeding under 28 U.S.C. § 157(b); and venue being proper

            pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Application

            having been provided; and it appearing that no other or further notice need be provided; and

            the relief requested in the Application being in the best interests of the Debtor, its estate, its

            creditors and other parties in interest; and the Court having reviewed the Application; and the

            Court having determined that the legal and factual bases set forth in the Application establish

            just cause for the relief granted herein; and after due deliberation and sufficient cause

            appearing therefor,

                   IT IS HEREBY ORDERED THAT:

                   1.      The relief requested in the Application is hereby GRANTED.

                   2.      The Debtor is hereby authorized to employ and retain KCC as its claims,

            noticing and ballot agent nunc pro tunc to the Petition Date in the Debtor’s Chapter 11 case

            under the terms of the Engagement Agreement and KCC is authorized and directed to

            perform noticing and balloting services, and to receive, maintain, record, and otherwise

            administer the proofs of claim filed in this Chapter 11 case, and all related tasks, all as

            described in the Application (the “Claims, Noticing, and Balloting Services”).

                   3.      KCC shall serve as the custodian of court records and shall be designated as

            the authorized repository for all proofs of claim filed in this Chapter 11 case and is

            authorized and directed to maintain an official claims register for the Debtor and to provide a

            certified duplicate thereof upon the request of the Clerk.

                   4.      Notwithstanding KCC's service as a custodian pro tempore, the Clerk shall at

            all times remain the permanent custodian of the proofs of claim filed in this Chapter 11 case




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            and of the Court’s proofs of claim registers in this Chapter 11 case, even as those records and

            those registers are held and maintained by KCC. KCC shall forthwith provide the Clerk’s

            Office with any original Court document or any certified duplicate of a Court document that

            it may have, upon the request of the Clerk’s Office for such original document or such

            certified duplicate. Nothing herein limits the authority of the Clerk's Office in managing the

            records of the Court.

                   5.     The Clerk’s Office shall provide KCC with Electronic Case Filing (“ECF”)

            credentials that allow KCC to receive ECF notifications and file certificates of service.

                   6.     KCC is authorized and directed to obtain a post office box or address for the

            receipt of proofs of claim.

                   7.     KCC is authorized to take such other action to comply with all duties set forth

            in the Application.

                   8.     The Debtor is authorized to compensate KCC in accordance with the terms of

            the Engagement Agreement upon the receipt of reasonably detailed invoices setting forth the

            services provided by KCC and the rates charged for each, and to reimburse KCC for all

            reasonable and necessary expenses it may incur, upon the presentation of appropriate

            documentation, without the need for KCC to file fee applications or otherwise seek Court

            approval for the compensation of its services and reimbursement of its expenses.

                   9.     KCC shall maintain records of all services showing dates, categories of

            services, fees charged and expenses incurred, and shall serve monthly invoices on the

            Debtor, the office of the U.S. Trustee, counsel for the Debtor, counsel for Wells Fargo, N.A.,




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            counsel for any official committee, if any, monitoring the expenses of the Debtor and any

            party-in-interest who specifically requests service of the monthly invoices.

                   10.    The parties shall meet and confer in an attempt to resolve any dispute which

            may arise relating to the Engagement Agreement or monthly invoices, and that the parties

            may seek resolution from the Court if resolution is not achieved.

                   11.    Pursuant to section 503(b)(1)(A) of the Bankruptcy Code, the fees and

            expenses of KCC under this Order shall be an administrative expense of the Debtor’s estate.

                   12.    KCC may apply its retainer to all prepetition invoices, which retainer shall be

            replenished to the original retainer amount, and thereafter, KCC may hold its retainer under

            the Engagement Agreement during this Chapter 11 case as security for the payment of fees

            and expenses under the Engagement Agreement.

                   13.    The Debtor shall indemnify KCC under the terms of the Engagement

            Agreement, provided that KCC shall not be entitled to indemnification, contribution or

            reimbursement pursuant to the Engagement Agreement for services other than the services

            provided under the Engagement Agreement, unless such services and the indemnification,

            contribution or reimbursement therefore are approved by the Court.

                   14.    KCC shall serve notice of the commencement of this Chapter 11 Case and the

            initial 11 U.S.C. § 341 meeting (the “341 Meeting”) of creditors. KCC shall obtain the

            necessary form notice from the Clerk’s Office and shall not modify the form notice without

            the Court’s consent. Any claims bar date notice must be approved by the Court prior to

            being issued by KCC.        KCC is directed to coordinate the service of the notice of




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            commencement of this Chapter 11 case and the initial 341 Meeting with the Clerk’s Office,

            to ensure that service is in compliance with the Local Bankruptcy Rules.

                   15.     Pursuant to section 105(a) of the Bankruptcy Code, the Court may set a status

            conference at any time to discuss or review the operations of KCC in connection with this

            Order and to address any matters regarding the Court’s records and the proofs of claim

            register.    The Court may issue additional or supplemental orders as necessary and

            appropriate.

                   16.     Notwithstanding anything to the contrary in the Engagement Agreement, the

            Debtor shall have no obligation to indemnify KCC, or provide contribution or reimbursement

            to KCC, for any claim or expense that is either: (i) judicially determined (the determination

            having become final) to have arisen from KCC’s gross negligence, willful misconduct, or

            fraud; (ii) for a contractual dispute in which the Debtor alleges the breach of KCC’s

            contractual obligations if the Court determines that indemnification, contribution or

            reimbursement would not be permissible pursuant to In re United Artists Theatre Co., et al.,

            315 F.3d 217 (3d Cir. 2003), or (iii) settled prior to a judicial determination under (i) or (ii),

            but determined by this Court, after notice and a hearing, to be a claim or expense for which

            KCC should not receive indemnity, contribution or reimbursement under the terms of the

            Engagement Agreement as modified by this Order.

                   17.     If, before the earlier of (i) the entry of an order confirming a chapter 11 plan in

            this Chapter 11 case (that order having become a final order no longer subject to appeal), or

            (ii) the entry of an order closing this Chapter 11 case, KCC believes that it is entitled to the

            payment of any amounts by the Debtor on account of the Debtor’s indemnification,




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            contribution and/or reimbursement obligations under the Engagement Agreement (as

            modified by this Order), including without limitation the advancement of defense costs, KCC

            must file an application therefore in this Court, and the Debtor may not pay any such

            amounts to KCC before the entry of an order by this Court approving the payment. This

            paragraph is intended only to specify the period of time under which the Court shall have

            jurisdiction over any request for fees and expenses by KCC for indemnification, contribution

            or reimbursement, and not a provision limiting the duration of the Debtor’s obligation to

            indemnify KCC. All parties in interest shall retain the right to object to any demand by KCC

            for indemnification, contribution or reimbursement.

                   18.    KCC shall comply with all relevant statutory provisions and rules of

            procedure, including Local Rules, general orders, and applicable guidelines.

                   19.    In the event KCC is unable to provide the services set out in this order, KCC

            will immediately notify the Clerk and Debtor’s attorneys and cause to have all original

            proofs of claim and computer information turned over to another claims, noticing and ballot

            agent with the advice and consent of the Clerk and Debtor’s attorneys.

                   20.    Debtor’s counsel shall notify both the Clerk and KCC within seven (7) days of

            an order of dismissal or conversion of this Chapter 11 case.

                   21.    At the conclusion of this Chapter 11 case or upon termination of KCC’s

            services, the Debtor must obtain a termination order to terminate the services of KCC. KCC

            is responsible for archiving the claims with the Federal Archives Record Administration, if

            applicable.




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                   22.    The Debtor may submit a separate retention application, pursuant to section

            327 of the Bankruptcy Code and/or any applicable law, for work that is to be performed by

            KCC that is not specifically authorized by this Order.

                   23.    The Debtor and KCC are authorized to take all actions necessary to effectuate

            the relief granted pursuant to this Order in accordance with the Application.

                   24.    Notwithstanding any term in the Engagement Agreement to the contrary, the

            Court retains jurisdiction with respect to all matters arising from or related to the

            implementation of this Order.

                   25.    KCC shall not cease providing claims processing services during this Chapter

            11 case for any reason, including nonpayment, without an order of the Court.

                   26.    In the event of any inconsistency between the Engagement Agreement, the

            Application and this Order, this Order shall govern.

                   27.    Notwithstanding the possible applicability of Bankruptcy Rule 6004(h) or

            other Bankruptcy Rules, the terms and conditions of this Order shall be immediately

            effective and enforceable upon its entry.

                   Dated this ___ day of _______________________, 2017.


                                                        _______________________________________
                                                        United States Bankruptcy Judge




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                                             EXHIBIT B

                                    (Declaration of Robert Jordan)




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                                     UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NORTH DAKOTA


            In Re:                                                Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                     Chapter 11

                                   Debtor.


                DECLARATION OF ROBERT JORDAN IN SUPPORT OF DEBTOR’S
               APPLICATION FOR AN ORDER APPOINTING KURTZMAN CARSON
            CONSULTANTS, LLC AS CLAIMS, NOTICING AND BALLOT AGENT FOR THE
            DEBTOR-IN-POSSESSION PURSUANT TO 28 U.S.C. § 156(C), NUNC PRO TUNC
                                 TO THE PETITION DATE


                     I, Robert Jordan, under penalty of perjury, declare as follows:

                     1.     I am the Managing Director of Corporate Restructuring Services of Kurtzman

            Carson Consultants, LLC (“KCC”) 1, a company specializing in the administration of large

            bankruptcy cases. Except as otherwise noted, I have personal knowledge of the matters set

            forth herein, and if called and sworn as a witness, I could and would testify competently

            thereto.

                     2.     This declaration (the “Declaration”) is made in support of the Debtor’s

            Application for an Order Appointing Kurtzman Carson Consultants, LLC as Claims,

            Noticing and Ballot Agent for the Debtor-In-Possession Pursuant to 28 U.S.C. § 156(c),

            Nunc Pro Tunc to the Petition Date (the “Application”).

                     3.     As custodian of the Court’s records pursuant to 28 U.S.C. § 156(c), KCC will

            perform, at the request of the Clerk, the claims, noticing and ballot related services specified

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                      Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to such terms in the Application or First Day Declaration, as applicable.



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            in the Application and the Engagement Agreement. In addition, at the Debtor’s request,

            KCC will perform such other noticing, claims, balloting, administrative, technical, and

            support services specified in the Application and the Engagement Agreement.

                   4.     KCC        is   a   bankruptcy   administrator   that   specializes   in   providing

            comprehensive Chapter 11 administrative services including noticing, claims processing,

            balloting and other related services critical to the effective administration of Chapter 11

            cases. KCC is comprised of leading industry professionals with significant experience in

            both the legal and administrative aspects of large, complex Chapter 11 cases. KCC has

            developed efficient and cost-effective methods to handle properly the voluminous mailings

            associated with the noticing, claims processing and balloting portions of chapter 11 cases to

            ensure the orderly and fair treatment of creditors, equity security holders and all parties in

            interest. Further, KCC will work with the Clerk’s Office to ensure that such methodology

            conforms to all of the Court’s procedures, the Local Rules and the provisions of any orders

            entered by this Court.

                   5.     KCC has substantial experience in matters of this size and complexity and has

            acted as the official notice, claims and solicitation agent in many large bankruptcy cases in

            other districts nationwide. See, e.g., In re Peabody Energy Corporation, et al., No. 16-42529

            (Bankr. E.D. Mo. Apr. 13, 2016); In re Falcon Prods., Inc., No. 05-41108 (Bankr. E.D. Mo.

            March 10, 2005) (Docket No. 255); see also In re Alpha Natural Res., Inc., No. 15 33896

            (Bankr. E.D. Va. Aug. 5, 2015) (Docket No. 93); In re Walter Energy, Inc., No. 15 02741

            (Bankr. N.D. Ala. July 15, 2015) (Docket No. 55); Azure Midstream Partners, LP, et al.,

            Case No. 17-30461 (Bankr. S.D. Tex. Jan. 30, 2017); Forbes Energy Services, Ltd., et al.,




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            Case No. 17-20023 (Bankr. S.D. Tex. Jan. 22, 2017); Erickson Incorporated, et al., No. 16-

            34393 (Bankr. N.D. Tex. Nov. 11, 2016); AstroTurf, LLC, No. 16-41504 (Bankr. N.D. Ga.

            June 28, 2016) In re AMF Bowling Worldwide, Inc., No. 12 36495 (Bankr. E.D. Va. Nov. 14,

            2012) (Docket No. 61); In re Old HB (f/k/a Hostess Brands, Inc.), No. 12-22052 (Bankr.

            S.D.N.Y. Jan. 27, 2012 (Docket No. 201); In re Eastman Kodak Co., No. 12-10202 (Bankr.

            S.D.N.Y. Jan. 19, 2012) (Docket No. 47); In re Movie Gallery, Inc., No. 10 30696 (Bankr.

            E.D. Va. Feb. 3, 2010) (Docket No. 73); In re Circuit City Stores, Inc., No. 08 35653 (Bankr.

            E.D. Va. Nov. 12, 2008) (Docket No. 108).

                   6.     I represent, among other things, that:

                          a.     KCC neither holds nor represents any interest adverse to the Debtor’s
                                 estate in connection with any matters for which KCC will be employed;

                          b.     I am not related or connected to and, to the best of my knowledge, no
                                 other professional of KCC is related to or connected to any United
                                 States Bankruptcy Judge for the District of North Dakota or the U.S.
                                 Trustee or to any employee in the offices thereof;

                          c.     KCC will not consider itself employed by the United States
                                 government and shall not seek any compensation from the United
                                 States government in its capacity as the Claims, Noticing and Ballot
                                 Agent in this Chapter 11 case.

                          d.     By accepting employment in this Chapter 11 case, KCC waives any
                                 right to receive compensation from the United States government in its
                                 capacity as the Claims, Noticing and Ballot Agent in this Chapter 11
                                 case;

                          e.     In KCC’s capacity as the Claims, Noticing and Ballot Agent in this
                                 Chapter 11 case, KCC is not an agent of the United States and is not
                                 acting on behalf of the United States;

                          f.     KCC will not employ any past or present employees of the Debtor in
                                 connection with its work as the Claims, Noticing and Ballot Agent in
                                 this Chapter 11 case;




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                           g.     In its capacity as Claims, Noticing and Ballot Agent in this Chapter 11
                                  case, KCC will not intentionally misrepresent any fact to any person;

                           h.     KCC shall be under the supervision and control of the Clerk with
                                  respect to the receipt and recordation of claims and claim transfers; and

                           i.     None of the services provided by KCC as Claims, Noticing and Ballot
                                  Agent shall be at the expense of the Clerk.

                   7.      To the best of my knowledge and belief, and based solely upon information

            provided to me by the Debtor, and except as provided herein, neither KCC, nor any

            employee of KCC, holds or represents any interest materially adverse to the Debtor, its estate

            or its creditors with respect to matters upon which KCC is to be engaged.

                   8.      To the best of my knowledge and belief, and based solely upon information

            provided to me by the Debtor and except as provided herein, neither KCC, nor any employee

            of KCC, has any materially adverse connections to the Debtor, its creditors or equity interest

            holders, or other relevant parties, their respective attorneys and accountants that would

            conflict with the scope of KCC’s retention or would create any interest adverse to the

            Debtor’s estate or any other party-in-interest.

                   9.      The Engagement Agreement, which is attached as Exhibit C to the

            Application, sets forth the fees KCC charges for the services it will provide to the Debtor.

            The proposed compensation arrangement is consistent with, and typical of, arrangements of

            KCC and its competitor firms to provide claims, noticing and ballot agent services in chapter

            11 cases.

                   10.     KCC requests that the undisputed fees and expenses incurred by KCC in the

            performance of the above services be treated as administrative expenses of the Debtor’s




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            chapter 11 estate pursuant to 28 U.S.C. § 156(c) and and 503(b)(1)(A) and be paid in the

            ordinary course of business and without further application to or order of the Court.

                   11.     I caused to be submitted for review by our conflicts system the names of

            certain material creditors and parties in interest in this Chapter 11 case identified by the

            Debtor. The results of the conflict check were compiled and reviewed by KCC professionals

            under my supervision. At this time, and as set forth in further detail herein, KCC is not

            aware of any relationship that would present a disqualifying conflict of interest. Should

            KCC discover any new relevant facts or relationships bearing on the matters described herein

            during the period of its retention, KCC will use reasonable efforts to file promptly a

            supplemental declaration.

                   12.     KCC is an indirect subsidiary of Computershare Limited. Computershare

            Limited is a financial services and technologies provider for the global securities industry.

            Within the Computershare corporate structure, KCC operates as a separate, segregated

            business unit. As such, any relationships that Computershare Limited and its affiliates

            maintain do not create an interest of KCC that would be materially adverse to the Debtor’s

            estate or any class of creditors or equity security holders.

                   13.     To the best of my knowledge, and based solely upon information provided to

            me by the Debtor, and except as provided herein, neither KCC nor any of its professionals,

            has any materially adverse connection to the Debtor, its creditors or other relevant parties.

            KCC may have relationships with certain of the Debtor’s creditors as vendors or in

            connection with cases in which KCC serves or has served in a neutral capacity as Claims,

            Noticing and Ballot Agent for another Chapter 11 debtor.




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                   14.     KCC has and will continue to represent clients in matters unrelated to this

            Chapter 11 case. In addition, KCC has and will continue to have relationships in the

            ordinary course of its business with certain vendors, professionals and other parties in

            interest that may be involved in the Debtor’s Chapter 11 case in matters unrelated to this

            case. KCC may also provide administrative services to entities or persons that may be

            creditors or parties in interest in this Chapter 11 case, which services do not directly relate to,

            or have any direct connection with, this Chapter 11 case or the Debtor.

                   15.     KCC and its personnel in their individual capacities regularly utilize the

            services of law firms, accounting firms and financial advisors. Such firms engaged by KCC

            or its personnel may appear in Chapter 11 cases representing the Debtor or parties in interest.

            All engagements where such firms represent KCC or its personnel in their individual

            capacities are unrelated to this Chapter 11 case.

                   16.     To the best of my knowledge, neither KCC nor any of its partners or

            employees represents any interest materially adverse to the Debtor’s estate with respect to

            any matter upon which KCC is to be engaged. Based on the foregoing, I believe that KCC is

            a “disinterested person” as that term is defined in section 101(14) of the Bankruptcy Code.

            Prior to the Petition Date, the Debtor provided KCC a retainer in the amount of $30,000.00

            in connection with prepetition services and has paid prepetition fees and expenses in the

            amount of $7,000. KCC seeks to hold the remainder of the retainer under the Engagement

            Agreement during this Chapter 11 case as security for the payment of fees and expenses

            under the Engagement Agreement.




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                   17.    KCC will comply with all requests of the Clerk’s Office and the guidelines

            promulgated by the Judicial Conference of the United States for the implementation of

            28 U.S.C. § 156(c).

                   18.    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

            foregoing is true and correct to the best of my information, knowledge and belief.

                   Dated this ____ day of February, 2017.


                                                        _______________________________________
                                                       Robert Jordan, Managing Director of Corporate
                                                       Restructuring Services




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                                            EXHIBIT C

                                      (Engagement Agreement)




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